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                      UNITED STATES DISTRICT COURT SOUTHERN
                               DISTRICT OF FLORIDA
                             Case No. 18-CR-80053-ROSENBERG

  UNITED STATES OF AMERICA

  vs.

  ALSTON ORLANDO LEROY WILLIAMS,

         Defendant.
                                                  /

               UNITED STATES’ RESPONSE TO DEFENDANT’S AMENDED
                        SPECIFIC DEMAND FOR DISCOVERY

         The United States of America, by and through the undersigned counsel, hereby files its

  Response to Defendant’s Specific Demand for Discovery (DE 57). The Defendant has filed eleven

  (11) specific demands, for which the government will respond to each individually.

         The initially filed a Defendant’s Specific Demand for Discovery (DE 46), which the

  government responded to (DE 50) addressing all eleven of the defendant’s demands and citing

  controlling Supreme Court and Eleventh Circuit precedent (Id. at 1-2). This Court then offered

  the defendant an opportunity amend his demand if needed, by October 26, 2018. He did so (DE

  57). The undersigned Assistant United States Attorney and counsel for the defendant, Assistant

  Federal Public Defender Fletcher Peacock, discussed the amended filing over the telephone. The

  Government now files its response as follows:

  I.     Request for False Statements and Dishonesty by Government Witnesses

         The Government relies upon its response (DE 50).

  II.    Request for Diagnoses of Mental Illness or Disease of Government Witnesses

         The Government respectfully responds that it is unaware through any of its witnesses or

  agents of any diagnoses of mental illness or disease of any government witness who may be called

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  at trial. The government will inquire of the one particular witness that the defense mentioned

  during discussions to inquire of any mental illness or disease. If any such information becomes

  available of said witness or any other witness, the government will consider its relevance to the

  case and determine if it is discoverable under the law.

  III.      Request for Instances of Psychotropic Drug Use

            The Government relies upon its response (DE 50). Further, a witness’ prior use of drugs

  or alcohol cannot be used as a general form of impeachment, but can only be used to impeach his

  or her “ability to perceive the underlying events and to testify lucidly at trial.” United States v.

  Clemons, 32 F.3d 1504, 1511 (11th Cir. 1994) (internal citation omitted).

  IV.       Request Favorable Treatment in this Case or Any Other Criminal Case

            The Government relies upon its response (DE 50).

  V.        Request for Civil Favorable Treatment or Benefit, Including Immigration

            The Government relies upon its response (DE 50). The government has requested TL’s

  immigration file and will review the same.

  VI.       Request for Travel Outside Palm Beach or Broward Counties by Alleged Victims

            The Government relies upon its response (DE 50).      Moreover, contrary to defendant’s

  assertions (DE 57:3, paragraph 7), the government does not maintain that the victims were held

  “captive” in the purest sense of the word. The government will continue to supply information of

  out-of-county travel, should it become known to the government. The government reiterates, that

  within the vast discovery provided in this case, there is communication and record of out-of-county

  travel.

  VII.      Request for Copies of any Victim’s Passports Reflecting International Travel

            The Government will request of the victims whether they possess passports from the dates


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  charged in the indictment.

  VIII. Victim’s Personal Expenditures Exceeding $200

         The Government relies upon its response (DE 50). Moreover, counsel for the defendant

  has provided that this figure was not based upon any mathematical calculation, but a number that

  was felt to be relevant. The government believes this request to be unreasonable and irrelevant.

  IX.    Victim’s Bank or Financial Accounts

         The Government relies upon its response (DE 50).

  X.     Federal and State Income Tax Returns

         The Government relies upon its response (DE 50). Moreover, as the victims filing of tax

  returns is not relevant to any of the elements of the charged crimes in the superseding indictment.

  XI.    Sources of Employment of the Alleged Victims

         The Government relies upon its response (DE 50). The government has agreed to inquire

  of the victims in this case as to any source of employment they might have had during the pendency

  of this indictment.

                                                       Respectfully submitted,

                                                       ARIANA FAJARDO ORSHAM
                                                       UNITED STATES ATTORNEY

                                                       By: s/ Gregory Schiller
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was

  electronically filed with the Court’s CM/ECF system on November 2, 2018.


                                                       By: s/ Gregory Schiller
                                                       Assistant United States Attorney




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